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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                     )
 In re:                                              )   Chapter 11
                                                     )
 QUORUM HEALTH CORPORATION,                          )   Case No. 20-10766 (BLS)
                                                     )
                Reorganized Debtor.                  )   Jointly Administered
                                                     )
                                                     )
                                                     )
 DANIEL H. GOLDEN, AS LITIGATION                     )
 TRUSTEE OF THE QHC LITIGATION                       )
 TRUST, AND WILMINGTON SAVINGS                       )
 FUND SOCIETY, FSB, SOLELY IN ITS                    )
 CAPACITY AS INDENTURE TRUSTEE                       )
                                                     )
                Plaintiffs,                          )
                                                     )
 v.                                                  )   Adv. Proc. No. 21-51190 (BLS)
                                                     )
 COMMUNITY HEALTH SYSTEMS, INC.;                     )
 CHS/COMMUNITY HEALTH SYSTEMS,                       )
 INC.; REVENUE CYCLE SERVICE CENTER,                 )
 LLC; CHSPSC, LLC; PROFESSIONAL                      )
 ACCOUNT SERVICES, INC.; PHYSICIAN                   )
 PRACTICE SUPPORT, LLC; ELIGIBILITY                  )
 SCREENING SERVICES, LLC; W. LARRY                   )
 CASH; RACHEL SEIFERT; ADAM                          )
 FEINSTEIN; AND CREDIT SUISSE                        )
 SECURITIES (USA) LLC,                               )
                                                     )
                Defendants.                          )
                                                     )

      JOINT REQUEST FOR ORAL ARGUMENT IN CONNECTION WITH
  DEFENDANTS COMMUNITY HEALTH SYSTEMS, INC., W. LARRY CASH, AND
  RACHEL SEIFERT'S MOTION TO STAY LITIGATION PENDING ARBITRATION

          Pursuant to Del. Bankr. L.R. 7007-3, (i) Defendants Community Health Systems, Inc., W.

Larry Cash, and Rachel Seifert (collectively, the “Defendants”); and (ii) Quorum Health

Corporation (“Quorum”), respectfully jointly request oral argument on Defendants’ Motion to Stay



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Litigation Pending Arbitration [Docket Nos. 61] (the “Motion to Stay Litigation”) filed on March

7, 2022. The Motion to Stay Litigation is fully briefed and ready for the Court’s consideration.

Dated: May 16, 2022
Wilmington, Delaware                                  Respectfully submitted,

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 Systems, Inc., W. Larry Cash, and Rachel Counsel for Defendants Community Health
 Seifert,                                 Systems, Inc., W. Larry Cash, and Rachel
                                          Seifert


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 Attorneys for Quorum Health Corporation




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